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                            UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH

                                                        Case No. 4:24-cv-00033-TS-PK
SHERRY TERESA, individually and on
behalf of all others similarly situated,

                     Plaintiff,                     ORDER GRANTING MOTION FOR
                                                    EXTENSION OF TIME TO ANSWER
         v.                                           OR OTHERWISE RESPOND TO
                                                       PLAINTIFF’S COMPLAINT
MAYO FOUNDATION FOR MEDICAL
EDUCATION AND RESEARCH,

                    Defendant.

         Based upon the parties’ Stipulated Motion for Extension of Time to Answer or

Otherwise Respond to Plaintiff’s Complaint 1 and for good cause appearing, the Court

GRANTS the Stipulated Motion and ORDERS that:

   • The deadline for the Defendant to answer or otherwise respond to the Complaint 2

         is extended until May 31, 2024.

   • If Defendant’s response to the Complaint is a motion requiring response and reply

         memoranda, the deadline for Plaintiff’s opposition brief is June 28, 2024 and the

         deadline for Defendant’s reply brief is July 19, 2024

         SO OREDERED this 19th day of April, 2024.


                                                _____________________________
                                                PAUL KOHLER
                                                United States Magistrate Judge

   1
       Docket No. 9, filed April 18, 2024.
   2
       Docket No. 1, filed March 12, 2024.
